                  Case 23-10831-MFW               Doc 1009      Filed 02/24/24        Page 1 of 2



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                                 Case No. 23-10831-MFW
                                                                     (Jointly Administered)
                                       Debtors.
                                                                     Related Docket No. 1008

                NOTICE OF WITHDRAWAL OF THE OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS’ NOTICE OF DEPOSITION TO THE DEBTORS
              PURSUANT TO FED. R. CIV. P. 30(B)(6) AND FED. R. BANKR. P. 7030 IN
                          CONNECTION WITH THE DIP MOTION

                    PLEASE TAKE NOTICE that The Official Committee of Unsecured Creditors’

Notice of Deposition to the Debtors Pursuant to Fed. R. Civ. P. 30(b)(6) and Fed. R. Bankr. P.

7030 in Connection with the DIP Motion (Docket No. 1008) is hereby withdrawn, without

prejudice, as it was filed in the wrong case.

Dated: February 24, 2024                      TROUTMAN PEPPER HAMILTON SANDERS LLP
Wilmington, Delaware

                                               /s/ Evelyn J. Meltzer
                                               David M. Fournier (DE No. 2812)
                                               Evelyn J. Meltzer (DE No. 4581)
                                               Kenneth A. Listwak (DE No. 6300)
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                                                        evelyn.meltzer@troutman.com
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                                               -and-




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       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
       address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


169053719v1
              Case 23-10831-MFW     Doc 1009     Filed 02/24/24    Page 2 of 2




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                                  Proposed Counsel to the Official Committee of Unsecured
                                  Creditors of NanoString Technologies, Inc., et al.




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